                 Case 2:09-cr-00194-KJM Document 40 Filed 01/13/11 Page 1 of 2


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 4   Attorney for Defendant
     MARCUS WILLIAMS
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:09-CR-0194 FCD
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   CESAR FIGUEROA, JR., et al.,
14                                 Defendants.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jill Thomas, Assistant United States Attorney, attorney for plaintiff,
18   Michael E. Hansen, attorney for defendant Marcus Williams, and Lexi Negin, attorney for
19   defendant Cesar Figueroa, Jr., that the previously-scheduled status conference date of
20   January 18, 2011, be vacated and the matter set for status conference on February 22, 2011.
21           This continuance is requested to allow counsel additional time to review discovery with
22   the defendants, to examine possible defenses and to continue investigating the facts of the case.
23          Accordingly, all counsel and the defendant agree that time under the Speedy Trial Act
24   from the date this stipulation is lodged, through February 22, 2011, should be excluded in
25   computing time within which trial must commence under the Speedy Trial Act, pursuant to
26   / / / / /
27   / / / / /
28   / / / / /


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     Stipulation and Order to Continue Status Conference
               Case 2:09-cr-00194-KJM Document 40 Filed 01/13/11 Page 2 of 2


 1   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense
 2   counsel to prepare].
 3   Dated: January 13, 2011                             Respectfully submitted,
 4
                                                         /s/ Michael E. Hansen
 5                                                       MICHAEL E. HANSEN
                                                         Attorney for Defendant
 6                                                       MARCUS WILLIAMS
 7
     Dated: January 13, 2011                             FEDERAL DEFENDER’S OFFICE
 8
 9                                                       By: /s/ Lexi Negin
                                                         LEXI NEGIN
10                                                       Assistant Federal Defender
                                                         Attorney for Defendant
11                                                       CESAR FIGUEROA, JR.
12
     Dated: January 13, 2011                             U.S. ATTORNEY’S OFFICE
13
14                                                       By: /s/ Jill Thomas
                                                         JILL THOMAS
15                                                       Assistant U.S. Attorney
                                                         Attorney for Plaintiff
16
17
18                                              ORDER
19          IT IS HEREBY ORDERED that the previously-scheduled status conference date of
20   January 18, 2011, be vacated and the matter set for status conference on February 22, 2011.
21   Time is excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv),
22   and Local Code T4.
23   Dated: January 13, 2011
24
                                              _______________________________________
25                                            FRANK C. DAMRELL, JR.
                                              UNITED STATES DISTRICT JUDGE
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     Stipulation and Order to Continue Status Conference
